
USCA1 Opinion

	





          May 12, 1995                                [Not for Publication]
                                [Not for Publication]                            United States Court of Appeals
                            United States Court of Appeals                                For the First Circuit
                                For the First Circuit                                 ____________________        No. 94-2057                             GEORGE C. WILLIAMS, ET AL.,                               Plaintiffs, Appellants,                                          v.                              RICHARD E. POULOS, ET AL.,                                Defendants, Appellees.        No. 94-2058                              GEORGE C. WILLIAMS, ET AL.                                Plaintiffs, Appellees,                                          v.                              RICHARD E. POULOS, ET AL.,                               Defendants, Appellants.                                 ____________________                    APPEALS FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________                                 ____________________                                        Before                                Boudin, Circuit Judge,
                                        _____________                           Campbell, Senior Circuit Judge,
                                     ____________________                              and Stahl, Circuit Judge.
                                         _____________                                 ____________________            Allen S.  Rugg, with whom  Alan D. Strasser,  Kutak Rock,  John S.
            ______________             ________________   __________   _______        Whitman, and Richardson &amp; Troubh, were on brief for appellants.
        _______      ___________________            Terry  A. Fralich, with whom Peter J. DeTroy, and Norman, Hanson &amp;
            _________________            _______________      ________________        DeTroy, were on brief for appellees.
        ______                                 ____________________                                 ____________________



                      STAHL,  Circuit Judge.   After  appellants obtained
                      STAHL,  Circuit Judge.
                              _____________            substantial   relief  in   their  lawsuit   alleging  illegal            wiretapping  in violation of 18 U.S.C.   2511(1) and Me. Rev.            Stat.  Ann. tit. 15   710(1), the district court, pursuant to            the statutory schemes, ordered  appellees to pay  appellants'            attorney  fees and  expenses  in the  amount of  $283,950.58.            Appellants  now  argue that  the  district  court abused  its            discretion  in  awarding  as  little  as  it  did;  appellees            maintain in  their cross-appeal that the  abuse of discretion            occurred  in  awarding appellants  anything  at  all.   After            careful review of  the record, we conclude that  the district            court's basic approach  is sound but that  on certain matters            it failed to provide a sufficient basis to justify certain of            its deductions and made  computational errors; thus we modify            the district court order accordingly.                                          I.
                                          I.
                                          __                                      BACKGROUND
                                      BACKGROUND
                                      __________                      We  have previously  recited in detail  the factual            background to the  underlying, substantive lawsuit,  Williams
                                                                 ________            v.  Poulos,  11 F.3d  271  (1st  Cir.  1993) (the  "Williams"
                ______            lawsuit), and we therefore provide only a brief summary here.            Appellants   (plaintiffs  in   the  Williams   lawsuit)  were            defendants  in a  RICO lawsuit  stemming from  the demise  of            Consolidated Auto  Recyclers, Inc. ("CAR"),  Bowers v. Allied
                                                         ______    ______            Capital Corp., Civ. No. 91-0021-B (D. Me. filed January 1991)
            _____________                                         -2-
                                          2



            (Brody,  J.)  (the  "Bowers"  lawsuit).   In  the  course  of            discovery  in the Bowers  litigation, appellants learned from            Richard  Poulos, counsel  for  CAR's principals  (the  Bowers            plaintiffs)  that  he  had  secret  tapes  of  some  of their            conversations.  After further discovery, appellants initiated            the Williams  lawsuit, seeking,  inter alia,  declaratory and
                                             _____ ____            injunctive  relief, under  federal  and  Maine wiretap  laws,            forbidding Poulos  and the  Bowers plaintiffs from  using the            tapes  in the Bowers lawsuit.  On February 3, 1993, following            a six-day bench  trial, the district  court granted in  large            part  appellants'   requested   relief,  and   we   affirmed.            Williams, 11 F.3d at 274.
            ________                      Appellants then filed  an application for  attorney            fees with  the district  court, pursuant  to the  federal and            Maine  wiretap  statutes,  both  of  which  provide  for  the            recovery   of  reasonable  attorney   fees  and   costs  from            defendants in successful civil actions.  18 U.S.C.   2520(a)-            (b)(1);  Me.  Rev.  Stat.  Ann.  tit.  15,     711(2).    The            application, as  amended, sought $715,202.12 in attorney fees            and costs.1   In its  Order and Memorandum  of Opinion  dated                                
            ____________________            1.  Appellants' initial application for fees and expenses  on            January  13, 1994, requested  a total of  $734,389.62.  After            appellees filed a memorandum with the district court opposing            the application, appellants filed an amended application (the            Application), deducting $6,600 in computer  research charges,            $2,125 in telephone surcharges, and $10,462.50 in charges for            attorney travel time, reducing  the total amount requested to            $715,202.12.   This  amended figure  comprised  approximately            $616,349 in attorney  fees and $78,253  in expenses from  the                                         -3-
                                          3



            September  2,  1994,  the  district  court  stated  that  the            Application  was  "unreasonable  on  its  face   and  grossly            inflated"  and  that  it  contained  "exorbitant  costs   and            numerous instances  of  inefficient  allocation  of  the  law            firms'  resources."   The district  court  awarded appellants            $283,950.58  -- about  40%  of the  amount  requested.2   The            court arrived at this figure in the following manner:                      (1) In  calculating  reasonable fees  for  services            rendered by Kutak Rock,  the court used local billing  rates,            rather   than  the   Washington,   D.C.,   rates   requested.            Appellants,  in defense  of  this request,  claim they  could            locate no  available, qualified local counsel  willing to sue            Poulos,  and therefore  Kutak Rock's  out-of-town rates  were            reasonable.  The court,  however, found that appellants chose                                
            ____________________            three law firms that represented appellants, with expert fees            and court  reporter costs  accounting for  the balance.   The            lion's  share  of  the  fees and  expenses  --  approximately            $491,749  in fees and $59,589 in expenses -- requested in the            Application were billed by  Kutak Rock, the Washington, D.C.,            law  firm  that  served as  appellants'  lead  counsel.   The            Application    includes    fees   and    expenses   totalling            approximately   $96,777  billed   by  Richardson   &amp;  Troubh,            appellants' Maine  counsel, and approximately  $46,463 billed            by Murray, Plumb &amp; Murray, counsel for Ralph Dyer, intervenor            in  the Williams  lawsuit.   Dyer  did  not appeal  from  the            district  court's  order  awarding  reduced  fees.   However,            because  the  district  court   based  its  decision  on  the            propriety  of the  entire Application, and  because appellees            contend  that the  entire  Application should  be denied,  we            consider the  fees and expenses  billed by Dyer's  counsel in            our analysis.            2.  The total  award comprised $246,741.58  in attorney  fees            and $37,209 in costs.                                         -4-
                                          4



            Kutak  Rock as lead counsel in the wiretap case because Kutak            Rock  already  represented  them  in  the  underlying  Bowers            lawsuit.    This  adjustment   resulted  in  a  reduction  of            approximately $159,000.                      (2) The court found that appellants had overstaffed            the case, stating that it had "found numerous  occasions when            Plaintiffs' counsel  duplicated efforts"  and offering  as an            example bills from three lawyers for time  spent in preparing            for and  attending Poulos's deposition.  The court found that            such duplicative  billing reflected bad  faith and subtracted            an additional $100,000  to correct for overstaffing and  as a            penalty for appellants' bad faith request.                      (3)  On its  own, the  court calculated  reasonable            travel expenses from Washington,  D.C., to Bangor, Maine, and            cut $8,524  from appellants' request.   It  also declined  to            allow  reimbursement for  meal expenses  altogether ($1,245),            and, citing  the inherent  cost of coordinating  work between            law  firms,  allowed just  $11,000  of  $34,088 in  requested            photocopy charges and $6,000 of $16,312 in requested postage,            telephone and  fax charges.   These cuts  reduced appellants'            requested expense award by a total of $43,169.                      (4) Noting  that appellants had agreed  not to seek            reimbursement for attorney travel time and  computer research            charges,  the court  subtracted  $13,575 from  the  requested            total.                                         -5-
                                          5



                      (5)  Finally,  apparently to  correct  for  what it            called a "misallocation of  resources," the court stated that            it would  divide the  tasks performed by  appellants' lawyers            into three  categories and,  in accordance with  the relative            expertise demanded by each task, allow compensation for those            services  at 50%, 75% or  100% of each  lawyer's local rate.3            Stating that it  had "determined to the extent possible based            on the information made available by counsel,  how many hours            fall  within  each  category  for  each  lawyer,"  the  court            subtracted an additional $115,000 from the requested fee.                      Appellants argue that the method the district court            used to arrive at a reasonable fee was not in accordance with            applicable  law  and  that the  court  provided  insufficient            explanations for the  cuts that it made.   Appellees maintain            that, because the district court found, inter alia,  that the
                                                    _____ ____            fee  request  was  "unreasonable  on  its  face  and  grossly            inflated"  and  at  least  in part  reflected  bad  faith, it            therefore had no discretion  to do anything but deny  the fee            request in its entirety.                                
            ____________________            3.  Services compensated at 50% included:   "conferences with            co-counsel  and  opponents;  proofreading   and  copyreading;            notification  and  preparation  for  depositions;  review  of            documents; telephone conversations."                      Services  compensated  at 75%  included:   "general            research;  taking  and   attendance  at  depositions;  letter            drafting; drafting  and reading of memoranda; preparation for            hearings and court conferences; discovery activity."                      Services  compensated  at  100%   included:  "court            appearances, in-chambers conferences, and the preparation and            drafting of motions and briefs."                                         -6-
                                          6



                                         II.
                                         II.
                                         ___                                      DISCUSSION
                                      DISCUSSION
                                      __________            A.  Standard of Review
            ______________________                      We review a district  court's fee award for mistake            of law or abuse of discretion.   Lipsett v. Blanco, 975  F.2d
                                             _______    ______            934, 937 (1st Cir.  1992).  A district court's  discretion in            calculating  a reasonable  fee  is  particularly broad;  this            tribunal  "lacks the  means  to replicate  the trial  court's            first-hand knowledge  of  the litigation  and  its  nuances."            Foley v. City of Lowell, 948 F.2d 10, 19 (1st Cir. 1991).
            _____    ______________                      Our  review,  however, is  not  without  bite.   We            require that  the trial  court "make concrete  findings [and]            supply  a `clear  explanation  of  its  reasons for  the  fee            award.'"   United  States v.  Metropolitan Dist.  Comm'n, 847
                       ______________     __________________________            F.2d  12, 16 (1st Cir. 1988)  (omitting internal citation and            quoting Grendel's Den, Inc. v. Larkin, 749 F.2d 945, 950 (1st
                    ___________________    ______            Cir. 1984)).  While  these demands should not be so  great as            to cause a district court to  "drown in a rising tide of fee-            generated  minutiae,"  id.,  we  do  expect  a  court  making
                                   ___            substantial reductions  in a  prevailing party's  fee request            "to spell out the whys and wherefores."  Brewster v. Dukakis,
                                                     ________    _______            3 F.3d  488, 493 (1st Cir. 1993)  (quoting Metropolitan Dist.
                                                       __________________            Comm'n,  847 F.2d at 18).  Otherwise, judicial review is next
            ______            to impossible.                                         -7-
                                          7



                      Even when we cannot  affirm an attorney fees award,            however,  we  need  not   always  remand  for  more  detailed            findings.  "A  request for attorney's fees  should not result            in a second major  litigation."  Jacobs v. Mancuso,  825 F.2d
                                             ______    _______            559, 562 (1st  Cir. 1987) (quoting Hensley  v. Eckerhart, 461
                                               _______     _________            U.S.  424, 437  (1983)).   When the  record provides  us with            ample  resources, then, "much as we dislike the task that has            been put upon us," id., we may set forth our own findings and
                               ___            amend  the award accordingly.   We have done  so in the past,            see, e.g.,  id.; Rogers v.  Okin, 821 F.2d  22, 31 (1st  Cir.
            ___  ____   ___  ______     ____            1987); Hart  v.  Bourque,  798  F.2d  519  (1st  Cir.  1986);
                   ____      _______            Grendel's Den, 749 F.2d at 951, and we do so here.    
            _____________            B.  The District Court's Methodology
            ____________________________________                      Appellants argue  that the district court  erred in            its  failure to  use  the lodestar  framework to  determine a            reasonable  fee.    Where  the  applicable  statutory  scheme            prescribes no alternative method, "we have customarily  found            it  best to calculate fees  by means of  the [lodestar] time-            and-rate-method  . . . ."  Tennessee  Gas Pipeline Co. v. 104
                                       ___________________________    ___            Acres  of Land,  32 F.3d  632, 634  (1st Cir.  1994) (quoting
            ______________            Weinberger  v. Great N. Nekoosa Corp., 925 F.2d 518, 526 (1st
            __________     ______________________            Cir. 1991) (alterations in Tennesee Gas)).  A court employing
                                       ____________            this  method  multiplies  the  number  of   hours  reasonably            expended on  the litigation by  a reasonable  hourly rate  to            arrive at the  lodestar figure.   Hensley, 461  U.S. at  433;
                                              _______                                         -8-
                                          8



            Metropolitan  Dist. Comm'n, 847 F.2d  at 15.   To determine a
            __________________________            reasonable number of hours, a court may begin with the number            of hours actually  spent and then subtract  "hours which were
                     ________            duplicative,    unproductive,    excessive,   or    otherwise            unnecessary."   Metropolitan  Dist. Comm'n,  847 F.2d  at 15.
                            __________________________            (quoting Grendel's Den, 749 F.2d at 950).   This is, in fact,
                     _____________            essentially what the district  court did.  It began  with the            total  number of  hours  appellants' attorneys  spent on  the            litigation,  and made  deductions for  duplicative, excessive            and unnecessary billing.  While it performed this exercise in            an  unorthodox manner  --  deducting lump  sums, rather  than            hours -- this  was in large part  undoubtedly necessitated by            appellants' failure to  specify the amount  of time spent  on            each task billed  and to  summarize the hours  spent by  each            attorney on different parts of the litigation.  In any event,            we  have  never  required  that  district  judges  "march  in            lockstep,   following   an  unyielding,   essentially  wooden            approach in  all fee award  cases."  Id.   In fact,  we "have
                                                 ___            left reasonably open the question of  precisely how the judge            ascertains   the  number   of  hours   reasonably  expended."            Tennessee  Gas, 32  F.3d at  634 (quoting  Metropolitan Dist.
            ______________                             __________________            Comm'n, 847  F.2d at  15.).   While we  take issue  with some
            ______            aspects of the manner in which the district court implemented            its   methodology,  we  find  no  error   in  its  choice  of            methodology per se.                                         -9-
                                          9



            C.  Use of Local Rates
            ______________________                      Appellants  maintain  that,  in  order   to  obtain            meaningful  relief  from   appellees'  illegal   wiretapping,            exigent circumstances left them with no choice but to  assign            the lion's share of the wiretap litigation to its Washington,            D.C., counsel,  Kutak Rock.   Appellants' local  firm in  the            Bowers litigation,  Berman &amp; Simmons, refused  to sue Poulos,            appellants claim,  forcing them to begin  an expensive search            for new  local counsel.   After interviewing  thirty lawyers,            appellants finally found a  Maine lawyer -- John  Whitman, of            Richardson  &amp; Troubh -- willing  to take the  case, but whose            involvement  in other  litigation  prevented  him  from  ever            taking  over the primary role in the Williams lawsuit.  Thus,            appellants claim,  because they were unable  to find suitable            local counsel, their decision to use Kutak Rock  was entirely            reasonable,   and  the  district   court  erred  in  limiting            reimbursement for  Kutak Rock's services  to prevailing Maine            rates.                      In general, "the proper  rate to apply to  the work            of out-of-town counsel is that of the forum community, rather            than  that which  the attorney  charges in  the community  in            which she practices."   2  Mary Frances Derfner  &amp; Arthur  D.            Wolf,  Court Awarded Attorney Fees     16.03[8]  (1994);  see
                   ___________________________                        ___            Maceira  v.  Pagan, 698  F.2d 38,  40  (1st Cir.  1983) ("The
            _______      _____            reasonable  hourly  rate  is   usually  stated  to  be  `that                                         -10-
                                          10



            prevailing  in  the community  for  similar  work.'" (quoting            Copeland  v. Marshall, 641 F.2d 880, 892 (D.C. Cir. 1980) (en
            ________     ________            banc))).   Nevertheless, out-of-town rates may  be applied if            the complexities of a  particular case require the particular
                                                   _______            expertise of non-local  counsel, Maceira, 698 F.2d  at 40, or
                                             _______                   __            "when the case is an undesirable one which  capable attorneys            within the forum  community are not  willing to prosecute  or            defend,"  2 Derfner &amp; Wolf   16.03[8] (1994) (citing cases).                      While the district court, in its  sound discretion,            might have found that  appellants' lawsuit against Poulos was            one  that  no  capable  attorney  in  Maine  was  willing  to            prosecute,  it did  not  do  so.    Instead,  it  found  that            appellants were using Kutak Rock in the Williams suit because            it  already   represented  them  in  the   underlying  Bowers            litigation.    The same  district  judge  presided over  both            lawsuits, and  his familiarity  with the litigants  and their            counsel, and with the willingness of the local bar to sue one            another, far exceeds ours.  This was not a ruling on  summary            judgment;  nothing   required  the  district  judge  to  take            appellants'  self-serving explanations as  true.  Apparently,            he believed  that appellants' difficulty in  finding suitable            local  counsel  was  far   less  a  factor  motivating  their            retention  of Kutak  Rock than  was Kutak  Rock's familiarity            with  the case  and its  client:   this  is both  an entirely            logical conclusion  and a finding supportable  on the record,                                         -11-
                                          11



            given that  two local law  firms did in  fact join  the fight
                                             ___            against Poulos and the other appellees.  Therefore, we do not            fault the  district court's decision to  use prevailing local            rates in determining a reasonable fee.                      That said,  the district  court's calculation of  a            reasonable local hourly rate contains a mathematical error of            some  consequence.4   To arrive  at this  rate,  the district            court  divided what it thought was the total requested fee of            Kutak Rock --  $569,775.24 --  by the total  number of  hours            Kutak Rock billed -- 2,867 -- to arrive at a weighted average
                                                         ________            billing  rate for all Kutak  Rock employees of  $198.11.  The            actual  average  billing rate  of  all  Kutak Rock  employees
            ______            (i.e., the sum of their hourly rates divided by the number of            employees  who billed) was $131.82.  The court noted that the            weighted  average  was  approximately  50% greater  than  the            actual  average, reflecting  that higher-paid  lawyers billed            the bulk  of the hours.  It then assigned a local hourly rate            to each  Kutak Rock employee (roughly equivalent to the rates            commanded  by  the  two  local  firms  on  the  application),            computed their average -- $95.45 -- and increased this figure            by  50% to  arrive at  a weighted  local average  of $143.10.            Finally, it  multiplied this latter figure by  2,867 hours to                                
            ____________________            4.  To  their credit,  appellants directed  our attention  to            this  error, even  though correcting  it  results in  a lower            local hourly rate.                                         -12-
                                          12



            arrive at an  adjusted local  fee request for  Kutak Rock  of            $410,267.70.                      In  fact, the  $569,775.24  figure with  which  the            district court began included $68,014 in expenses and did not            reflect  the  adjustments  appellants made  in  their amended            Application.   Kutak Rock's portion of  the adjusted attorney            fee  request was  actually $491,749,  and its  total adjusted            hours  were 2,818.   Using these  figures, and  employing the            district court's methodology, the adjusted local  fee request            for Kutak Rock is $356,054.5            D.   Reductions for Duplicative Billing  and Misallocation of
            _____________________________________________________________            Resources
            _________                      In deducting $100,000 to compensate for duplicative            billing  and   to  penalize  appellants  for   bad  faith  in            requesting such compensation, the district  court stated that            it had  "found  numerous occasions  when Plaintiffs'  counsel            duplicated efforts."  It provided only one example:  bills by            three lawyers for time  spent in preparing for and  attending            Poulos's deposition.6   Appellants argue that, because Poulos                                
            ____________________            5.  We arrived at this result as follows:                           1) $491,749    2,818 =  $174.50                           (weighted average rate)                           2) $95.45 x ($174.50/$131.82) =                           $126.35                           3)    $126.35    x   2,818    =                           $356,054.30            6.  In fact,  the Application  includes billing  entries from            five  lawyers   who  attended  at  least   part  of  Poulos's
            ____            deposition:    two from  Kutak  Rock, one  from  Richardson &amp;                                         -13-
                                          13



            was the most important deponent in the case, their deployment            of lawyers  in  the taking  of  his deposition  was  entirely            reasonable, and,  moreover, that this  single example  cannot            possibly  sustain a finding of  bad faith and  a deduction of            $100,000.                      Assuming for the moment  that sending three lawyers            to  a  deposition  constitutes overstaffing,  we  agree  with            appellants that this single  example, along with the district            court's reference to  other, unspecified "numerous occasions"            of similar overstaffing, do not constitute a sufficient basis            for  a  finding  of bad  faith  and  a  combined penalty  and            deduction  of  $100,000.    Our   own  scrutiny  of  the  fee            application, however, persuades us  that the district court's            concerns were not  entirely unjustified.  In  addition to the            Poulos deposition, for example,  two, three or four attorneys            attended depositions on May 27-29 and June 11-12, 1992.  Four            attorneys  --   two  partners  from  Kutak   Rock,  one  from            Richardson  &amp; Troubh and one  from Murray, Plumb  &amp; Murray --            billed  time  for  attendance at  the  preliminary injunction            hearing on June 29, 1992.   Four lawyers attended -- and,  we            assume, participated in -- the trial.                      We do  not mean to underestimate  the importance of            key depositions or  hearings in the course  of litigation, or            the  possible value  of  employing more  than  one lawyer  at                                
            ____________________            Troubh, and two from Murray, Plumb &amp; Murray.                                         -14-
                                          14



            trial.  Nor  do we question  the appellants' contention  that            this was particularly hard-fought litigation,  with appellees            raising many  time-consuming, frivolous arguments.   This was            not,   however,  complex  antitrust  litigation  between  two            Fortune 500 companies.   And, in assessing the reasonableness            of  a fee request, a  court should "ordinarily  greet a claim            that several lawyers were required to perform a single set of            tasks with healthy skepticism."  Lipsett v.  Blanco, 975 F.2d
                                             _______     ______            934,  938 (1st  Cir. 1992).   Appellants' arguments  that the            demands  of this case were  so great as  to warrant extensive            work  by four  partners,  and occasional  work by  additional            partners and  associates, from  three different law  firms --            and that this  strike force of  lawyers always divided  tasks            efficiently  --  apparently  did not  persuade  the  district            court.   Thus, giving due  deference to the  district court's            general  sense  that the  case  was  overstaffed, and  having            scrutinized  the fee  request ourselves  and concluded  -- as            indicated  by the above examples  -- that there  was at least            some duplication of  effort, we will  modify this portion  of            the   district  court's   order   and   deduct  $40,000   for            overstaffing.                      The  district court's  decision to  deduct $115,000            for misallocating  resources suffers  from a similar  lack of            specific  examples  as  well  as  an  analytical  flaw.   The            principle that legal work demanding differing levels of skill                                         -15-
                                          15



            and  expertise  may  be  compensated  differently  is  firmly            established.   See, e.g., Jacobs 825 F.2d at 561 n.3 ("Within
                           ___  ____  ______            reason, the court may  establish . . . multiple  hourly rates            to reflect differences in the types of services performed for            the client.").  Here, however,  the district court appears to            have  deducted  twice  for  this  differential.    First,  in
                            _____            calculating  the  overall  fee  for Kutak  Rock's  work,  the            district  court calculated  the  weighted average  of all  of
                                                                  ___            Kutak  Rock's attorneys  at $143.10  per hour, which  we have            corrected  to $126.35.    This calculation,  however, already            accounts for  the  fact  that  some  work  was  performed  by            associates  and  paralegals.    Work that  was  actually  and            appropriately  performed by  these  lower-paid  employees  --            i.e.,  work  that  falls  into the  district  court's  lower-            compensated categories  -- should not  then be  subject to  a            further deduction of 25% or 50% of their billing rates.  Yet,
                                               _____            the  district court stated  that it  arrived at  its $115,000            deduction after "determin[ing]  to the extent  possible based            on the information made available by  counsel, how many hours            fall  within  each  category   for  each  lawyer"  and  "then
                                                ____            reduc[ing]  that   lawyer's  local  rate  according   to  the            [tripartite]   framework."  (emphasis   added).     This  was            analytically incorrect.                      As was the case  with the deduction for duplicative            billing, however,  we think  the  district court's  instincts                                         -16-
                                          16



            were  correct.   Of  the 3,734  hours billed,  partners' time            accounted for approximately 80% of that total.  This would at            least place a court on notice that close scrutiny of resource            deployment was necessary.  The manner in which the bills were            presented, however, made such scrutiny  virtually impossible.            An  entry  for a  lawyer's work  on  any given  day typically            includes several  different tasks,  but only a  single figure            reflecting the total number  of hours spent on the  case that            day.7   Thus,  the bills  provide no  indication of  how much            time was spent on each task, making it extremely difficult to            determine if the lawyers' time was allocated efficiently.                      Appellants'  plaints that,  had the  district court            asked  for further  explanations,  they  could have  supplied            them, are unavailing.   We have stated  previously that "[i]n            order for  litigants to receive fee awards  . . . they [must]            submit  `a   full  and  specific  accounting   of  the  tasks            performed, the dates of performance, and the  number of hours                                
            ____________________            7.  As an example, we  cite the billing entry for  Kutak Rock            partner  Ronald Massumi  for March  15, 1993,  totalling 6.25            hours at a cost of $1,093.75:                      Conference   with   Mr.  Rugg   regarding                      appellate procedure; telephone conference                      with Mr.  Murray's office; correspondence                      to   Mr.   Whitman;  research   regarding                      injunctions pending appeal, federal rules                      of  civil  and  appellate procedure,  1st                      Circuit   caselaw   on  stays/injunctions                      pending   appeal,    notice   of   appeal                      procedure;  draft  motion for  injunction                      pending appeal, and memorandum in support                      of motion for injunction pending appeal.                                         -17-
                                          17



            spent on each task.'"  Tennessee Gas, 32 F.3d at 634 (quoting
                     ____          _____________            Weinberger, 925 F.2d  at 527).   The bills  submitted do  not
            __________            contain this level  of detail.  Attorneys  preparing bills in            fee-shifting  cases  in  the  District  of  Maine  have  been            specifically warned to  account for time spent  on each task.
            ____________ ______            Weinberger v. Great N.  Nekoosa Corp., 801 F. Supp.  804, 816
            __________    _______________________            n.21 (D. Me. 1992) (determining appropriate fee award despite            denying  request  on other  grounds  and  stating that  "[i]n            future,  the Court admonishes  counsel to  separate different            activities by the  discrete amount  of time  devoted to  each            activity"),  aff'd sub  nom, BTZ,  Inc.  v. Great  N. Nekoosa
                         _____ ___  ___  __________     _________________            Corp., 47 F.3d 463 (1st Cir. 1995).
            _____                      It  has long been the  law of this  Court that "the            absence of  detailed contemporaneous time records,  except in
                        ________            extraordinary  circumstances,  will  call for  a  substantial            reduction in any award or, in egregious cases, disallowance."            Tennessee  Gas, 32 F.3d  at 634  (quoting Grendel's  Den, 749
            ______________                            ______________            F.2d at  952).   Given the  significant  deficiencies in  the            Application, and the fact  that billing by partners accounted            for the vast majority of  hours -- giving rise at least  to a            suspicion that resources might  have been misallocated, which            is unprovable because of  the manner in which the  bills were            prepared  -- we do not think  that a deduction of $115,000 is            unreasonable  and we  will  not disturb  this portion  of the            district court's order.                                          -18-
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            E.    Deductions  for  Excessive Expenses,  Travel  Time  and
            _____________________________________________________________            Computer Time
            _____________                      We  will also  leave  intact the  district  court's            deduction  of about  half of appellants'  requested expenses.            The  district   court's  explanations  for  these  cuts  were            satisfactorily clear and reasonable.                      The district court did, however, incorrectly deduct            $6,975 in travel time charges and $6,600 in computer research            costs.   Appellants' requested  total of  $715,202.12 already            reflected the removal of these costs, so they should not have            been  deducted a  second time.   We  will therefore  add back            $13,575 to the award to correct for this error.            F.  Appellees' Cross-Appeal
            ___________________________                      Appellees devoted virtually all  of their brief and            reply brief  to arguments  explaining why the  district court            had no discretion  to do anything but deny the fee request in            its entirety.  We will devote considerably less space to this            contention.   Even assuming arguendo that  the district court
                                        ________            would  have been within its  discretion if it  had denied the            request  entirely because of  the Application's deficiencies,            nonetheless we are extremely  hesitant to instruct the court,            after  it had sifted through  hundreds of pages  of bills and            decided to grant part of the request despite its deficiencies            and excesses, that  it had no discretion to do  so.  In Lewis
                                                                    _____            v. Kendrick, 944 F.2d 949, 956 (1st Cir. 1991), we reversed a
               ________                                         -19-
                                          19



            district  court  award  of  attorney  fees  of  approximately            $49,000  and held that the plaintiff was entitled to nothing.            In that case, however, the district judge had retired, making            remand  to  the  trial  judge  impossible,  id.  at  954, the
                                                        ___            plaintiff obtained minimal relief, and the requested fees and            costs  were approximately 140 times the  worth of the damages            award, id. at  956.  We  held in that  case that counsel  had
                   ___            purposefully  defied  the  caselaw  regarding   attorney  fee            requests.  Id.  This is not such an extreme case.  Appellants
                       ___            obtained substantially  all the relief that  they sought and,            while opinions may differ as to what is a "reasonable" fee in            this  case, we do not think that the record remotely supports            a finding of  overreaching and bad  faith in the  Application            sufficient to justify the denial of any award at all.                      Nor do we find  merit in appellees' contention that            we  should  remand to  allow  them to  conduct  discovery and            further   contest   the   propriety   of   the   Application.            Appellants' award is  substantially less than  their original            request;  discovery  in this  case  would  simply be  another            example of litigious waste.             G.  Recalculation
            _________________                      We  now  recalculate  the  award in  light  of  our            rulings.  The district court awarded $283,950.58.  We reduced            the  adjusted amount for Kutak Rock's fees by $54,213.70.  We            reduced the deduction  for duplicative billing  from $100,000                                         -20-
                                          20



            to $40,000 and  reinstated $13,575  in incorrect  deductions.            These adjustments result in a net increase in the total award            of  $19,361.30.    Thus,  the  total  award  for  appellants'            reasonable attorney fees and expenses is $303,311.88.                                         III.
                                         III.
                                         ____                                      CONCLUSION
                                      CONCLUSION
                                      __________                      For the foregoing reasons, the district court order            is                      affirmed in part and modified in part.  No costs.
                      affirmed in part and modified in part.  No costs.
                      _________________________________________________                                         -21-
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